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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

UNITED STATES OF AMERICA                  )
                                          )
             v.                           )      4:93-cr-229
                                          )
GEORGE P. THOMAS, JR.                     )

                               ORDER OF DISMISSAL

      The motion of the government for an order dismissing, with prejudice, the

information as to George P. Thomas, Jr. is GRANTED. The Information is hereby

dismissed with prejudice.

      So ordered, this WK day of March 2023.




                                _______________________________________
                                _________________________
                                                       _ _________
                                CHRISTOPHER
                                CHRIR STOP
                                         OPHE
                                         OP  H R L. RAY
                                UNITED STATES
                                          STATE ES MAGISTRATE
                                                     MAGISTRAT JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
